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                                           7   Fax: (702) 382-1169

                                           8   Attorneys for Debtors

                                           9
                                                                       UNITED STATES BANKRUPTCY COURT
                                          10                                  DISTRICT OF NEVADA
                                          11   In re:                                              Case No. 22-14616-nmc
                                          12                                                       Chapter 7
Tel: (702) 382-1170 Fax: (702) 382-1169




                                               ROBIN LINUS LEHNER and
                                          13   DONYA TINA LEHNER,
       LARSON & ZIRZOW, LLC

        Las Vegas, Nevada 89101
          850 E. Bonneville Ave.




                                          14                                 Debtors.              Date: February 14, 2023
                                                                                                   Time: 2:00 p.m.
                                          15

                                          16            NOTICE OF REMOTE HEARING RE: DEBTORS’ MOTION TO EXTEND
                                                                TIME TO FILE SCHEDULES AND STATEMENTS
                                          17            NOTICE IS GIVEN that a Motion to Extend Time to File Schedules and Statements
                                          18   (“Motion”) was filed by Robin Linus Lehner and Donya Tina Lehner (collectively, the
                                          19   “Debtors”). The Motion seeks an extension of time to file their schedules and statements up to
                                          20   and including February 3, 2023. Any opposition to the Motion must be filed pursuant to Local
                                          21   Rule 9014(d)(1).
                                          22            NOTICE IS FURTHER GIVEN that if you do not want the Court to grant the relief
                                          23   sought in the Motion, or if you want the Court to consider your views on the Motion, then you
                                          24   must file an opposition with the Court, and serve a copy on the person making the Motion no
                                          25   later than 14 days preceding the hearing date for the Motion, unless an exception applies (see
                                          26   Local Rule 9014(d)(3)). The opposition must state your position, set forth all relevant facts and
                                          27   legal authority, and be supported by affidavits or declarations that conform to Local Rule
                                          28   9014(c).
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                                           1          PLEASE TAKE FURTHER NOTICE that a copy of the above-referenced Motion is on
                                           2
                                           2   file with and available from the Clerk of the United States Bankruptcy Court at the address
                                           3
                                           3   provided above; via the bankruptcy court’s website at www.nvb.uscourts.gov (a PACER account
                                           4
                                           4   is required); or by contacting the Debtors’ counsel.
                                           5
                                           5       If you object to the relief requested, you must file a WRITTEN response to this
                                           6
                                                   pleading with the court. You must also serve your written response on the person who
                                           6
                                           7       sent you this notice.
                                           7
                                           8       If you do not file a written response with the court, or if you do not serve your written
                                           8       response on the person who sent you this notice, then:
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                                           9               ● The court may refuse to allow you to speak at the scheduled hearing; and
                                          10
                                          10               ● The court may rule against you without formally calling the matter at the
                                          11                 hearing.
                                          11
                                          12
Tel: (702) 382-1170 Fax: (702) 382-1169




                                                      NOTICE IS FURTHER GIVEN that pursuant to Administrative Order 2020-14, all
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                                          13
                                               hearings are currently being held telephonically absent further order of the Court. The hearing
       LARSON & ZIRZOW, LLC




                                          13
        Las Vegas, Nevada 89101




                                          14
          850 E. Bonneville Ave.




                                               will be held on February 13, 2023, at 2:00 p.m. Parties are permitted to appear telephonically
                                          14
                                          15
                                               by dialing (669) 254-5252, Meeting ID 161 166 2815, and entering Passcode 115788#.
                                          15
                                          16
                                                      NOTICE IS FURTHER GIVEN that this hearing may be continued from time to time
                                          16
                                          17
                                               without further notice except for the announcement of any adjournment at the hearing.
                                          17
                                          18
                                                      Dated: January 13, 2023.
                                          18
                                          19                                                   By:       /s/ Matthew C. Zirzow
                                          19                                                          LARSON & ZIRZOW, LLC
                                          20                                                          ZACHARIAH LARSON, ESQ.
                                          20                                                          MATTHEW C. ZIRZOW, ESQ.
                                          21
                                                                                                      850 E. Bonneville Ave.
                                          21                                                          Las Vegas, Nevada 89101
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                                          23                                                          Attorneys for Debtors
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